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                                                                                                       LETTER



                                                                           Eric A. Seitz
   Eric A. Seitz, Attorney At Law                                          Della A. Belatti
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                                                                           Jonathan M.F. Loo
                                                                           Kevin A. Yolken

                                                September 22, 2020



  Honorable Helen Gillmor
  Senior United States District Judge
  District of Hawaii
  300 Ala Moana Boulevard
 -Honolulu, Hawaii· 96850

 Re:     Nash, et al vs. lge, et al
         Civil No. 20-398

 Dear Judge Gillmor:

                We were informed yesterday that the new complaint filed in the above referenced
 matter has been assigned to you. I respectfully request that you recuse yourself in this matter before
 we are compelled to file a motion formally seeking any relief.

                 You and I have known each other for many years, and until recently our relationship was
 mutually cordial and respectful. Unfortunately, through the course of two recent jury trials and on
 other occasions, I believe that you have expressed impatience and unwarranted criticisms of my work in
 your Court that presently are the subject of an on..;going appeal in the gth Circuit. Because I am
 concerned that your opinions of me could adversely affect my clients in the instant matter and raise at
 least an appearance of prejudice toward them, I am requesting that you decline to appear in this matter
 and allow the case to be reassigned to another District Judge.




                                                Eric A. Seitz




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